Case 5:01-cr-00030-FPS Document 545 Filed 08/31/06 Page 1 of 5 PageID #: 2381



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

           Plaintiff,

v.                                      Criminal Action No. 5:01CR30-05
                                                                (STAMP)
AARON WALLACE,

           Defendant.


                ORDER OVERRULING DEFENDANT’S OBJECTIONS
               TO THE MAGISTRATE JUDGE’S DETENTION ORDER

                              I.   Background

     On August 2, 2006, United States Probation Officer Daniel E.

Fugate filed a petition to revoke the defendant’s supervised

release on the basis of three positive urine screens over the

preceeding five months indicating use by the defendant of both

marijuana and cocaine.      On August 11, 2006, this Court, following

a hearing, entered a judgment revoking defendant’s supervised

release as a result of his noncompliance with the conditions of

supervision.     At the revocation hearing, the defendant requested

that he be permitted to self-report to the Bureau of Prisons. This

Court deferred ruling on the request while the government’s motion

to detain was still pending before United States Magistrate Judge

James E. Seibert.

     On August 15, 2006, Magistrate Judge Seibert granted the

government’s motion to detain.       On August 21, 2006, the defendant

filed objections to the order granting the motion to detain.             The

government filed a response.
Case 5:01-cr-00030-FPS Document 545 Filed 08/31/06 Page 2 of 5 PageID #: 2382



                             II.    Discussion

      Detention orders entered by a magistrate judge are to be

reviewed de novo. See 18 U.S.C. §3145; United States v. Clark, 865

F.2d 1433, 1436 (en banc)(4th Cir. 1989)(“A defendant ordered

detained by a magistrate may seek de novo review in the district

court.”).

      A presumption of detention exists under 18 U.S.C. § 3143(a)

when a defendant is awaiting imposition or execution of his

sentence.     The defendant’s burden under that section differs,

however, depending on the seriousness of the crime of which the

defendant has been convicted.       If the defendant has been convicted

of (a) a    crime of violence, (b) an offense for which the maximum

sentence is life imprisonment or death, or (c) a drug offense which

carries a statutory maximum of ten years or more, defendant has a

heavy burden to overcome in order to avoid detention.                   Under

§   3143(a)(2),   the   defendant    must   show   that   (1)   there   is   a

substantial likelihood of acquittal and the government does not

recommend a term of imprisonment or (2) the judicial officer finds

by clear and convincing evidence that the person is not likely to

flee or pose a danger to any other person or the community.              See

e.g. United States v. Fernandez, 144 F. Supp. 2d 115 (N.D.N.Y.

2001) and In Re Sealed Case, 242 F. Supp. 2d 489 (E.D. Mich. 2003).

      On the other hand, under § 3143(a)(1), which applies if the

defendant is convicted of any other crime not implicated by




                                      2
Case 5:01-cr-00030-FPS Document 545 Filed 08/31/06 Page 3 of 5 PageID #: 2383



§ 3143(a)(2), the defendant merely must prove the second prong of

the test articulated in § 3143(a)(2).

     The relevant offense for purposes of determining which burden

the defendant must meet to overcome the presumption of detention is

the underlying offense in this case.         Punishment imposed upon the

revocation of supervised release is punishment for the original

crime, not punishment for conduct leading to revocation.             United

States v. Soto-Olivas, 44 F.3d 788 (9th Cir. 1995).           By the plain

language of the statute that enacted supervised release, supervised

release is “a part of the sentence.”          Id.; 18 U.S.C. § 3583(a).

Thus, “it is the original sentence that is executed when the

defendant is returned to prison after a violation of the terms” of

his release.1    United States v. Paskow, 11 F.3d 873, 881 (9th Cir.

1993).

     The defendant here was originally convicted pursuant to 21

U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 860 of the Controlled

Substances Act of an offense which carries a maximum sentence of 40

years.    Accordingly, defendant’s objections to the magistrate



     1
      The Sentencing Commission’s commentary to the Sentencing
Guidelines supports this interpretation. See United States
Sentencing Commission Guidelines Manual, Chap. 7, Pt. A,
§ (3)(b)(treating violations as breaches of the court’s trust,
rather than as “new federal criminal conduct” and indicating that
“the sentence imposed upon revocation is intended to sanction the
violator for failing to abide by the conditions of the court-
ordered supervision, leaving the punishment for any new criminal
conduct to the court responsible for imposing the sentence for that
offense”). Soto, 44 F.3d at 790 n.1.



                                     3
Case 5:01-cr-00030-FPS Document 545 Filed 08/31/06 Page 4 of 5 PageID #: 2384



judge’s order to detain must be analyzed under the stricter

§ 3143(a)(2) test.

       In this case, the government has recommended imprisonment and

the magistrate judge determined, and this Court agrees, that there

is no substantial likelihood of acquittal.         Further, the defendant

has failed to show that he would not pose a danger to any person or

the community.      The defendant has admitted his guilt to multiple

controlled substance violations while he was under supervised

release for the underlying crime of distribution of crack cocaine

within 1000 feet of a school.          No evidence has been presented to

the Court in defendant’s objections or otherwise to dispute the

magistrate judge’s finding that the defendant would likely continue

to abuse controlled substances if released on bond with the

opportunity to self-report.       Illegal use of controlled substances

is crime of a serious nature that poses a significant risk to

members of the community.          The Court finds that there is no

reasonable expectation that the defendant would not continue to use

drugs and participate in criminal activity if he were released on

bond   with   the   opportunity   to    self-report.     Accordingly,    the

defendant’s objection to the magistrate judge’s order granting the

government’s motion to detain is OVERRULED.

       IT IS SO ORDERED.

       The Clerk is directed to transmit a copy of this order to the

defendant and to counsel of record herein.




                                       4
Case 5:01-cr-00030-FPS Document 545 Filed 08/31/06 Page 5 of 5 PageID #: 2385



     DATED:      August 31, 2006



                                   /s/ Frederick P. Stamp, Jr.
                                   FREDERICK P. STAMP, JR.
                                   UNITED STATES DISTRICT JUDGE




                                     5
